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UNITED srATES DISTRIC_T COUR_T
NORTHERN DIsr'RICT or iLLiNoIS
WEST_ERN D_IVISION

LAURJE RAYMoND, d/b/a A-i roWrNG,

Plaintiff,
Ror) R. BLAGOJEVICH, as Govemor of the s
State of Illinois, ‘?;_:,
and ;
ILLINOIS COMMERCE COMMISSION, NO. 03 C 50195 304

the Illinois Commerce Cornmission, LULA
M. FORD, MARY FRANCES SQUIRES,
KEVIN K. WRIGHT and ERIN
O’CONNELL-DIAZ, all'in their capacity
as Commissioners of the Illinois Cornmerce
Commission; and SCOTT WlSEMAN, as

Executive Dire_ctor of the Illinois Commerce
Co).'nmission"J

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EDWARD C. HURLEY, as Chainnan of )
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Defendant. )

AMENDED MOTION FOR TEMPORARY RESTRAINING ORDER AND
` ' ` PRELIMINARY INJUNCTION

NOW_COMES_ LAU_RIE RAYMOND, d/b/a A-l TOWING, Plaintiff herein, by

her attorney, Terry L. Deck, and respectfully requests this Court to enter a temporary

restraining order and a preliminary injunction prohibiting the above-named Defendants,

from enforcing those sections of the “Illinois Commercial Relocation of Trespassing
Vehicles Law,” 625 ILCS 5/18a, et. seq. , which are preempted by the Interstate

Comrnerce Act, 49 U.S.C. Sect. 14501(0)(1) and (2).

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l. The above-named Plaintif`f has filed a verified Complaint challenging selected
portions of the “Illinois Coinmercial Relocation of Trespassing Vehicles Laws,” 625

lILCS 5/1se, et eeq. l

2. flaintiff operates a towing business which comes under the regulation of that
State statute and Plaintist business is classified as a “ccmmercial vehicle relocator”
thereunder -

3. As set out in Plaintiff’s verified Complaint, the State statute in question is
enforceable in Winnebago County, Illinois. Defendant has been informed, and
reasonably believes that the effective enforcement date of the statute in Winnebago
County was May 1, 2003.

4. That the challenged sections of the statute in question are clearly preempted by
_the Interstate Commerce Act. As stated in her verified Complaint, the Interstate
Commerce Act allows State regulation in only three areas:

(a). The “safety regulatory authority of a State with respect to motor
vehicles,” -
(b). The authority of a State to require minimum amounts of insurance (49
U.S.C. 14501(c)(2)(A), and
- (c). The authority of a State to regulate the price charged for towing
performed without the consent or authorization of` the owner of the

iewea vehicle (49 u.s.c. 145`01(<>)(2)(<:).

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5. The plain language of the lnterstate Comrnerce Act prohibits States from

enacting legislation regulating to the “price, route or service of` any motor carrier.” (49

U.s.c. 14501(e)(1).

Basis for Iniunctive Relief
6. Plaintif`f has a clear and unambiguous right to conduct her towing and wrecker

business, which primarily involves towing vehicles which have been illegally parked on

private property.

7. Plainan s right to conduct her business is being violated by the various
requirements and regulations of that business found in the Illinois statute complained of
herein. P_laintif_`f alleges that the statute’s requirement that she obtain a relocator’s license
before engaging in her business not only violates the quoted provisions of the Interstate
Commerce Act, but also constitutes an undue financial burden on the business itself.

8 Specifically, and as noted 1n the verified Complaint filed herein, the state
Statute, among other provisions requires Plaintiff to have an employee available ‘at any
time” on the premises owed by the relocator for the purpose of arranging the immediate
release” of towed vehicles. (625 ILCS 5/18a-300(15). In effect, the statute requires
Plaintiff to hire an additional employee or employees to be available-at all 'times, “on the
premises owned by the relocator,” being the lot or lots on which vehicles are stored.
Plaintiff is simply unable to afford such additional employees and this requirement
seriously threatens her right and her ability to conduct her business.

9. This is also the case because acquisition of the relocator’s license requires that

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the relocator “conform to provisions of this Chapter and the requirements, rules and
regulations of the Commission thereunder.” Defendant contends, therefore, that she
could not obtain a relocat'or’s license as she is unable to comply with all of the provisions
of the Statute. Furthermore, as stated above, many of the “requirements, rules and
regulations” in question are preempted by the Interstate Commerce Act.
'10. Plaintiff has no adequate remedy at law-.
11. Plaintiff will suffer irreparable injury if this Court does not issue a temporary
restraining order, and, following a hearing, a preliminary injunction
12. That the harm which Plaintiff Will suffer if injunctive relief is denied far
outweighs any conceivable harm which Def`endants will experience if the injunction is
granted n
13. That the issuance of a temporary restraining order and preliminary injunction
lwill do no disservice to the public interest
Bond Reguirement
14. Fed. R. Civ. P. 65(c) requires that a bond be'posted as a condition for a
preliminary injunction _ -
15. That there is no economic burden which will be suffered by Defendant if
injunctive relief is granted
16. Plaintiff requests that the Court exercise its discretion and require that
Plaintiff post no bond, or a very minimal bond.

WHEREFORE, the above-named Plaintiff, LAURIE RAYMOND d/b/a A-l

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TOWING, respectfully requests this Court to issue a temporary restraining order, and,

' following a hearing, a preliminary injunction, preventing the Defendant named herein

from enforcing those sections of the “Illinois Commerciai Relocation Of Trespassing

Vehicles Law” complained of.

Respectfully submitted,
Laurie Raymond, dfb/a A»l Towing,

ran @j

Terry I;. Deck;'/
Her Attorney

Terry L. Deck

n ' Attorney for Plaintiff

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